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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 NABIL ISKANDER                                     )   CASE NO.
 1456 Lauderdale                                    )
 Lakewood, Ohio 44107                               )   JUDGE
                                                    )
        Plaintiff,                                  )   MAGISTRATE JUDGE
                                                    )
            vs.                                     )   PLAINTIFF’S COMPLAINT
                                                    )
 AMERICAN METAL COATINGS, INC.                      )   (Jury Demand Endorsed Herein)
 c/o Statutory Agent 1932 Service Corp.             )
 1301 E 9TH St Ste 3500                             )
 Cleveland, OH 44114                                )
                                                    )
       Defendant.                                   )

       Plaintiff Nabil Iskander, by and through undersigned counsel, and for his Complaint

against American Metal Coatings, Inc. (“American Metal”), states and alleges the following:

                                           INTRODUCTION

       1.         Plaintiff brings this lawsuit as a result of Defendant’s failure to pay Plaintiff

overtime compensation at the rate of one and one-half times his regular rate of pay for the hours

he worked over 40 each workweek, in violation of the Fair Labor Standards Act (“FLSA”), 29

U.S.C. 201-219.

                                    JURISDICTION AND VENUE
       2.         This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 28 U.S.C. §

1331 and 29 U.S.C. § 216(b).

       3.         Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant conducts

business throughout this District and Division and because a substantial part of the events and

omissions giving rise to the claims occurred in this District and Division.
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                                            PARTIES

       4.      At all times relevant herein, Plaintiff was a resident of Cuyahoga County, Ohio.

       5.      At all times relevant herein, Plaintiff was an employee within the meaning of 29

U.S.C. § 203(e) and R.C. § 4111.03(D)(3).

       6.      At times relevant herein, Defendant maintained its principal place of business in

Cuyahoga County, Ohio.

       7.      At all times relevant herein, Defendant was a for profit corporation, organized and

existing under the laws of the State of Ohio.

       8.      At all times relevant herein, Defendant was an employer within the meaning of 29

U.S.C. § 203(d) and R.C. § 4111.03(D)(2).

       9.      At all times relevant herein, Defendant was an enterprise within the meaning of

29 U.S.C. § 203(r).

       10.     At all times relevant herein, Defendant was an enterprise engaged in commerce or

in the production of goods for commerce within the meaning of 29 U.S.C. § 203(s)(1).

       11.     At all times relevant herein, Plaintiff was an employee engaged in commerce or in

the production of goods for commerce within the meaning of 29 U.S.C. § 206-207.

                                 FACTUAL ALLEGATIONS
                           (Failure to Pay Overtime Compensation)

       12.     Defendant is a manufacturing company that manufactures corrosive resistant

finishes and plating.

       13.     Plaintiff Nabil Iskander was employed by Defendant as a Chemical/

Environmental Manager between 2003 and October 2015, and as a Waste Treatment Operator

between October 2015 and February 2017.




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       14.     In or around October 2015, Christina Brown was promoted to Waste Treatment

Supervisor and became Plaintiff’s supervisor, and Plaintiff was demoted to Waste Treatment

Operator.

       15.     While employed by Defendant as a Waste Treatment Operator, Plaintiff’s job

duties were checking chemicals for the plating line; trouble-shooting issues on the plating line;

adjusting equipment for purifying water; adding chemicals for the plating line and waste

treatment systems; and cleaning and maintaining filter press and tanks.

       16.     Plaintiff did not manage two or more full-time employees while employed as an

Operator, did not discipline employees, and set other employees’ schedules.

       17.     Plaintiff did not have the ability to hire or fire employees, and did not make

recommendations as to the hiring, firing, advancement, promotion or any other change of status

of other employees.

       18.     Plaintiff was not involved in the hiring process and did not participate in potential

employee interviews.

       19.     Plaintiff’s primary duty was not the performance of office or non-manual work

directly related to the management or general business operations of Defendant.

       20.     Plaintiff did not have the ability to exercise discretion and independent judgment

with respect to matters of significance.

       21.     Defendant inappropriately classified Plaintiff as an exempt employee and paid

him a salary wage.

       22.     Plaintiff regularly worked over 40 hours per week, but Defendant failed to pay

him overtime compensation for the hours he worked over 40 each workweek.




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          23.   During his employment with Defendant, Plaintiff estimates that he worked

between 60-80 hours per workweek.

          24.   Defendant had knowledge that Plaintiff worked 60-80 hours per week and

Plaintiff was scheduled to work a minimum of 60 hours per week.

          25.   Defendant knowingly and willfully failed to pay Plaintiff overtime compensation

for the hours he worked over 40 each workweek.

                                 (Failure to Keep Accurate Records)

          26.   Defendant did not have a timekeeping system or timekeeping policies and

procedures for its employees, and, as such, Defendant failed to make, keep, and preserve

accurate records of all of the hours worked by Plaintiff.

          27.   As a result of Defendant’s record-keeping practices, the overtime work performed

by Plaintiff is unrecorded in Defendant’s time and earnings records.

                              (Defendant willfully violated the FLSA)

          28.   Defendant knowingly and willfully engaged in the above-mentioned violations of

the FLSA.

                                       COUNT ONE
                       (Fair Labor Standards Act Overtime Violations)

          29.   Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          30.   Defendant’s failure to pay Plaintiff overtime compensation at the rate of one and

one-half times his regular rate of pay for the hours he worked over 40 in a workweek violated the

FLSA, 29 U.S.C. §§ 201-219.

          31.   Defendant’s failure to keep accurate records of the hours worked each workday and

the total hours worked each workweek by Plaintiff violated the FLSA, 29 CFR § 516.2(a)(7).

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       32.      By engaging in the above-described practices and policies, Defendant willfully,

knowingly and/or recklessly violated the provisions of the FLSA.

       33.      As a result of Defendant’s practices and policies, Plaintiff has been damaged in that

he has not received wages due to him pursuant to the FLSA.

                                     PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays that this Honorable Court:
       A.       Award Plaintiff actual damages for unpaid overtime compensation;

       B.       Award Plaintiff liquidated damages equal in amount to the unpaid overtime

compensation;

       C.       Award Plaintiff pre- and post-judgment interest at the statutory rate;

       D.       Award Plaintiff attorneys’ fees, costs, and disbursements; and

       E.       Award Plaintiff further and additional relief as this Court deems just and proper.



                                               Respectfully submitted,


                                               /s/ Lori M. Griffin
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                              JURY DEMAND

     Plaintiff hereby demands a trial by jury on all issues so triable.

                                    /s/ Lori M. Griffin
                                    One of the Attorneys for Plaintiff




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